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 8                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 9                           SAN FRANCISCO / OAKLAND DIVISION

10   CRYSTAL CRAIG, TIFFANY BRYANT &               Case No.
     SAIT KURMANGALIYEV, Individually and
11   on Behalf of All Others Similarly Situated,   CLASS ACTION COMPLAINT FOR:
12                                                   1) Breach of Contract;
                   Plaintiffs,                       2) Breach of the Covenants of Good
13                                                       Faith and Fair Dealing;
            vs.                                      3) Intrusion Upon Seclusion;
14                                                   4) Electronic       Communications
                                                         Privacy Act;
15
     META PLATFORMS, INC.,                           5) Federal Wiretap Act;
16                                                   6) California Invasion of Privacy
                                                         Act;
17                 Defendant.                        7) Negligent Misrepresentation;
                                                     8) Cal. Bus. & Prof. Code §§ 17200;
18                                                   9) 815 ILCS §§ 505;
                                                     10) 815 ILCS §§ 510/2; and
19
                                                     11) N.Y. Gen. Bus. Law § 349
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                                                   JURY TRIAL DEMANDED
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                                              INTRODUCTION
 1

 2          1.      Plaintiffs Crystal Craig, Tiffany Bryant, and Sait Kurmangaliyev, on behalf of
 3 themselves and all others similarly situated, allege as follows upon personal knowledge as to their

 4 own conduct and on information and belief as to all other matters, based on investigation by

 5 counsel, such that each allegation has evidentiary support or is likely to have evidentiary support

 6 upon further investigation and discovery:

 7          2.      Plaintiffs bring this action on behalf of themselves and millions of other Americans
 8 whose financial privacy has been violated by Facebook’s Pixel tracking tool. As explained herein,

 9 Facebook knows (or should have known) that its Pixel tracking tool is being improperly used on

10 the websites of financial services providers and online tax-filing services such as H&R Block

11 (“Block”), TaxAct, and TaxSlayer, resulting in the wrongful, contemporaneous, re-direction to

12 Facebook of sensitive financial communications and tax filer information. This unlawful

13 transmission and collection of data is done without the knowledge or authorization of the customers,

14 like Plaintiffs, in violation of Defendant’s contracts with its users, as well as in violation of various

15 federal and state laws.

16          3.      When a customer communicates with a financial services or tax filing provider’s
17 website and Facebook Pixel is present on the customer portal login page, the Facebook Pixel source

18 code causes the exact content of the communication with their tax filing provider to be re-directed

19 to Facebook in a fashion that identifies them as a tax filer and sends filers’ tax-return data to Meta

20 without their consent and in violation of federal law.

21          4.      Unbeknownst to Plaintiffs, and millions of other customers around the country,
22 when they signed into an online tax or financial services provider, the Facebook Pixel secretly

23 deployed on the webpage sent to Facebook the fact that they had clicked to sign-in to the portal.

24 The data that the Facebook Pixel causes to be re-directed from the customer’s computing device to

25 Facebook includes tax filers’ names, email addresses, adjusted gross incomes, tax-filing statuses,

26 refund amounts, dependents’ college scholarship amounts, dependents’ names, and other

27 information. The Facebook Pixel also shares that the customer was communicating with a tax filing

28 institution, the customer’s Internet Protocol address, identifiers that Facebook uses to identify the

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 1 customer and his/her device, including cookies named c-user, datr, fr, and fbp (i.e. Facebook Pixel);

 2 and browser attribute information sufficient to fingerprint the customer’s device. This information

 3 is collectively referred to as “sensitive financial information” throughout.

 4          5.      The Facebook Pixel collected this information regardless of whether the filer had an
 5 account on Meta’s social media platforms such as Facebook or Instagram, and regardless of whether

 6 the customer had agreed to share their information – in fact, even when filers expressly declined to

 7 share their information, the Facebook Pixel collected it anyway.

 8          6.      As explained in further detail below, transmission of tax-filer data is a crime. 28
 9 U.S.C. § 7216.      Disclosure of such information to third parties is permitted under specific
10 circumstances, but only with valid consent. Neither Facebook nor any of the financial services

11 institutions that deployed the Facebook Pixel on their web properties (“Facebook Partner Financial

12 Data Providers”) procured valid authorizations for the disclosure of tax-return information to

13 Facebook.

14          7.      In addition, in absence of authorization, Facebook’s collection of sensitive financial
15 information from Facebook Partner Financial Data Providers violates Defendant’s privacy promises

16 to users. Facebook promises users that “publishers can send us information through Meta Business

17 Tools [such as] the Meta Pixel” but Facebook “require[s] each of these partners to have lawful

18 rights to collect, use, and share your data before providing any data to us.”

19          8.      The Facebook Partner Financial Data Providers promise their customers/website
20 users that they will protect the privacy of the taxpayer’s sensitive financial information; that they

21 will use and disclose their sensitive financial information only for enumerated, permitted purposes,

22 and that they will obtain customer consent before disclosing their sensitive financial information

23 for any non-enumerated purpose (Facebook Partner Financial Data Providers’ Privacy Notices).1

24 The Facebook Partner Financial Data Providers’ Privacy Notices are substantively identical or very

25 similar on these points, as they are largely dictated by law.

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27   1
    See, e.g., H&R Block Digital Privacy Notice, available at
   https://www.hrblock.com/universal/digital-online-mobile-privacy-principles/ (last accessed Jan. 3,
28
   2023).

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 1          9.       Despite knowingly receiving sensitive financial information from Facebook Partner
 2 Financial Data Providers, Facebook has not taken any action to enforce or validate its requirement

 3 that Facebook Partner Financial Data Providers obtain adequate consent from taxpayers before

 4 providing taxpayer data to Facebook.

 5          10.      Despite knowingly conveying sensitive financial information to Facebook via the
 6 Facebook Pixel, the Facebook Partner Financial Data Providers have not obtained adequate consent

 7 from customers before providing taxpayer data to Facebook.

 8          11.      Facebook monetizes the information it receives through the Facebook Pixel
 9 deployed on tax filing servicers’ web properties by using it to generate highly profitable targeted

10 advertising on- and off-Facebook.

11          12.      The targeted advertising Facebook offers for sale includes the ability to target
12 customers based on specific actions that a customer has taken on the Facebook Partner Financial

13 Data Providers’ websites and on confidential information about the customers at issue.

14          13.      Facebook also offers the ability to engage in remarketing based on positive targeting
15 – that is, serving specific ad campaigns to customers based on the specific actions those customers

16 took on the Facebook Partner Financial Data Providers’ websites. For example, Facebook could

17 target ads to a customer who had (1) used a specific tax-filing website; and (2) searched for specific

18 tax or deduction- based information.

19          14.      Facebook also offers Facebook Partner Financial Data Providers the ability to
20 engage in remarketing based on negative targeting – that is, ensuring that ads are not shown to users

21 who have taken specific actions. This could mean that Facebook would exclude existing customers

22 from a Facebook Partner Financial Data Provider’s advertising campaign to specifically search for

23 new customers.

24          15.      Facebook employs thousands of account managers or representatives to help
25 partners, including Facebook Partner Financial Data Providers, use the Facebook Pixel and other

26 tools.

27          16.      Through its account managers and representatives, Facebook is aware that it is
28 receiving tax filer and sensitive financial information from many different Facebook Partner

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 1 Financial Data Providers in the United States without customer knowledge, consent, or

 2 authorization.

 3          17.      Facebook also utilizes “The Facebook Crawler” that scans pages of partner apps and
 4 websites and through which Facebook gathers information about the app or website, including its

 5 title and description. Through the Facebook Crawler, Facebook is aware that it is receiving

 6 sensitive financial information.

 7          18.      Facebook is also aware of every web property where the Facebook Pixel is deployed
 8 and Facebook is fully capable of conducting expert analysis to identify tax filer websites or other

 9 financial services properties where the Facebook Pixel is present.

10          19.      Facebook’s actions described herein give rise to causes of action for: (1) breach of
11 contract; (2) breach of the duty of good faith and fair dealing; (3) intrusion upon seclusion / violation

12 of Article I, section 1 of the California Constitution; (4) federal and state electronic communications

13 privacy and wiretap claims; (5) violation of the California Invasion of Privacy Act, Cal. Penal Code

14 §§ 631 and 632; (6) Negligent Misrepresentation; (7) Violation of California’s Unfair Competition

15 Law, (8) Violation of the Illinois Consumer Fraud Act; (9) Violation of the Illinois Uniform

16 Deceptive Trade Practices Act; and (10) violation of the New York General Business Law (“GBL”)

17 § 349.

18                                                  PARTIES
19          20.      Plaintiff Crystal Craig is a citizen and resident of the State of Illinois. Plaintiff used
20 Block’s online tax filing service after 2018, including in 2019. Plaintiff was also a Facebook user

21 while using Block’s online tax filing services. Plaintiff’s use of Block’s online tax filing services

22 included the time during which the Facebook Pixel was secretly deployed and collecting sensitive

23 financial information.

24          21.      Plaintiff Tiffany Bryant is a citizen and resident of the State of Illinois. Plaintiff
25 used Block’s online tax filing service after 2018, including in 2019. Plaintiff was also a Facebook

26 user while using Block’s online tax filing services. Plaintiff’s use of Block’s online tax filing

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 1 services included the time during which the Facebook Pixel was secretly deployed and collecting

 2 sensitive financial information.

 3          22.      Plaintiff Sait Kurmangaliyev is a citizen and resident of the State of New York.
 4 Plaintiff used Block’s online tax filing service after 2018, including in 2019. Plaintiff was also a

 5 Facebook user while using Block’s online tax filing services. Plaintiff’s use of Block’s online tax

 6 filing services included the time during which the Facebook Pixel was secretly deployed and

 7 collecting sensitive financial information.

 8          23.      Defendant Meta Platforms, Inc. (referred to herein by its previous name of
 9 “Facebook”) is a publicly traded Delaware corporation headquartered in Menlo Park, California,

10 and does business throughout the United States and the world, deriving substantial revenue from

11 interstate commerce.

12                                     JURISDICTION AND VENUE
13          24.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because this
14 action arises in part under 18 U.S.C. § 2510, et seq., (the Electronic Communications Privacy Act).

15 This Court further has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d) (the Class Action

16 Fairness Act) because the amount in controversy exceeds $5,000,000, exclusive of interest and

17 costs, and a member of the Class is a citizen of a State different from any Defendant.

18          25.      This Court has supplemental jurisdiction over the remaining state law claims
19 pursuant to 28 U.S.C. § 1367 because the state law claims form part of the same case or controversy

20 under Article III of the United States Constitution.

21          26.      This Court has personal jurisdiction over the Defendant because Defendant
22 Facebook resides in this District and has sufficient minimum contacts with this District in that it

23 operates and markets its services throughout the country and in this District.

24          27.      Venue is proper in this district because Defendant Facebook is headquartered in this
25 District and resides this this District, and substantial parts of the events or omissions giving rise to

26 the claims occurred in or emanated from this District. Facebook developed the Pixel from its

27 headquarters in Menlo Park and continues to operate the Pixel from that location.

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 1          28.      For the same reasons, divisional assignment to the San Francisco and Oakland
 2 division is appropriate pursuant to Civil L.R. 3-2(c). Facebook’s Menlo Park headquarters sits in

 3 San Mateo County, which is encompassed by that division.

 4                                      FACTUAL BACKGROUND
 5                       Disclosure of Tax-Return Information in the United States
 6
            29.      Sensitive financial information in the form of tax-return information is federally
 7
     protected in the United States by federal law and its implementing regulations. Specifically, it is a
 8
     crime for any business that “prepar[es], or provid[es] services in connection with the preparation of”
 9
     federal tax returns to “disclose any information furnished to him for, or in connection with, the
10
     preparation of any such return,” or to “use[] any such information for any purpose other than to
11
     prepare, or assist in preparing, any such return.” 28 U.S.C. § 7216. For purposes of this provision,
12
     “tax return information means any information, including, but not limited to, a taxpayer’s name,
13
     address or identifying number, which is furnished in any form or manner for, or in connection with,
14
     the preparation of a tax return of the taxpayer.” 26 C.F.R. § 301.7216-1(b)(3).
15
            30.      Under these implementing regulations, online tax-filing providers such as the
16
     Facebook Partner Financial Data Providers may not disclose tax-return information without
17
     consent.     The standards for obtaining valid consent are detailed at length in the applicable
18
     regulations. Substantively, the consent must “specify the tax return information to be disclosed or
19
     used by the return preparer,” “describe the particular use authorized,” and “identify the specific
20
     recipient (or recipients) of the tax return information.” 26 C.F.R. § 301-7216-3(a)(3)(B).
21
     Procedurally, the consent must be “knowing and voluntary” (26 C.F.R. § 301-7216-3(a)(1)) and
22
     “signed and dated by the taxpayer” (26 C.F.R. § 301-7216-3(a)(3)(E)).
23
            31.      In addition, “conditioning the provision of any services on the taxpayer’s furnishing
24
     consent will make the consent involuntary,” and thus “the consent will not satisfy the requirements”
25
     of the regulations. 26 C.F.R. § 301-7216-3(a)(1). Consent also cannot be retroactive: “A taxpayer
26
     must provide written consent before a tax return preparer discloses or uses the taxpayer’s tax return
27
     information.” 26 C.F.R. § 301-7216-3(b).
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 1          32.      There are some circumstances in which a tax preparer may disclose tax return
 2 information without filers’ consent, such as disclosure in response to a subpoena or other lawful

 3 process. See 26 C.F.R. § 301.7216-2. No such exception is relevant in the instant case.

 4          33.      The prohibition on disclosure of tax-return information applies to all Facebook
 5 Partner Financial Data Providers. Each of these businesses is “engaged in the business of preparing,

 6 or providing services in connection with the preparation of, returns of the tax imposed by [the

 7 Internal Revenue Code].” 28 U.S.C. § 7216. TaxAct admits this in its Privacy Policy, where it

 8 notes that: “[t]he use and disclosure of Tax Return Information is governed by Section 301-7216 of

 9 the Internal Revenue Code.” Similarly, TaxSlayer’s Privacy Policy notes that “Section 301-7216

10 of the Internal Revenue Code specifically governs the use and disclosure of Tax Return

11 Information.”

12          34.      There is no exception in the laws or regulations enumerated above for the Internet
13 or online taxation service portals.

14                                    Facebook’s Contractual Promises
15          35.      Facebook is an American multinational technology company. It owns and operates
16 several of the most popular social media and technology products in the world—including

17 Facebook, Instagram, and WhatsApp. Facebook itself is the world’s largest social media company.

18          36.      Like most social-media companies, Facebook does not, in general, charge
19 consumers to use its platforms. Meta makes its money, instead, by selling advertising space to

20 third parties. These advertisers pay for the privilege of putting their notices in front of the billions

21 of consumers who use Facebook’s products. In 2021, Facebook had nearly $115 billion in

22 advertising revenue—97.5% of its total revenue.2

23          37.      Giving advertisers more and more effective means of targeting potential customers
24 is central to Facebook’s business and profitability. From the time Mark Zuckerberg announced

25 Facebook Ads in 2007, the main selling point of social media advertising—as opposed to

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27   2
    Securities and Exchange Commission, Form 10-K for Meta Platforms, Inc. at 93 (2021),
   available at https://www.sec.gov/Archives/edgar/data/1326801/000132680122000018/fb-
28
   20211231.htm (last accessed Jan. 3, 2023).

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 1 traditional mediums—was the ability to customize, micro-target, and monitor advertising

 2 campaigns. The entire purpose of Facebook Ads is to give advertisers access to data on users’

 3 Facebook activity, demographics, and interests. Over time, as competing social media platforms

 4 have emerged, Facebook has developed more and more sophisticated tools to enhance its

 5 advertising. The Facebook Pixel is the current iteration.

 6          38.      Every Facebook user is legally deemed to have agreed to the Terms, Data Policy,
 7 and Cookie Policy via a checkbox on the sign-up page; and the Terms, Data Policy, and Cookie

 8 Policy are binding upon Facebook and its users.

 9          39.      The Facebook Data Policy expressly provides that Facebook “requires” businesses
10 that use the Facebook Pixel “to have lawful rights to collect, use, and share your data before

11 providing any data to [Facebook].” Facebook further claims that “[i]t is against Facebook’s policies

12 for websites and apps to send sensitive information about people through our Business Tools,” and

13 that Facebook’s “system is designed to filter out potentially sensitive data it detects.”

14          40.      But Facebook does not “require” financial services providers to have lawful rights
15 to share tax data associated with their respective websites and online portals before sending it to

16 Facebook.

17          41.      Instead, Facebook merely includes a provision in its form contract which creates an
18 unenforced “honor system” for publishers, stating that, by using the Facebook Business Tools, the

19 publisher “represent[s] and warrant[s] that [it has] provided robust and sufficient prominent notice

20 to users regarding the Business Tool Data collection, sharing, and usage.”

21          42.      In reality, Facebook does not actually verify that publishers have obtained adequate
22 consent per the contract.3

23          43.      Instead, the Facebook Pixel is blindly made available to any willing publisher
24 regardless of their privacy policies, consent processes, or the nature of their business. Facebook

25 also does not effectively filter the sensitive data it receives. Instead, Facebook routinely collects,

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     3
      In contrast, Facebook requires publishers in the European Union to provide “all necessary
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     consents” in a “verifiable manner.”

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 1 stores, and uses consumers’ sensitive financial information without appropriate consent and, at

 2 times, in violation of state and federal laws and regulations.

 3            44.    Facebook’s contract with tax preparers and online financial services providers
 4 governing use of the Facebook Pixel does not mention federal laws related to sharing of tax return

 5 information at all.

 6            45.    Facebook does not take any action to discourage financial services providers from
 7 using the Facebook Pixel. In fact, Facebook actively encourages financial services providers and

 8 online tax preparers to use the Facebook Pixel for their marketing campaigns.

 9                                    How The Facebook Pixel Works
10            46.    As part of its business, Facebook maintains profiles on users that include users’ real
11 names, locations, email addresses, friends, likes, and communications that Facebook associates

12 with personal identifiers including IP addresses, cookies, and device identifiers.

13            47.    Facebook also tracks non-users across the web through its widespread Internet
14 marketing products and source code.

15            48.    Facebook’s revenue is derived almost entirely from selling targeted advertising to
16 Facebook users on Facebook.com and to all Internet users on non-Facebook sites that integrate

17 Facebook marketing source code on their websites.

18            49.    Facebook Business is the division that provides advertising services to developers.
19 Facebook Business and the advertising tools it provides to developers are focused on trade and

20 commerce.

21            50.    The Facebook Pixel, a product for Facebook Business, is a “piece of code” that lets
22 developers “measure, optimize and build audiences for ... ad campaigns.”4 It was introduced in

23 2015 and is enormously popular: at least six million distinct websites use the Pixel, including 30%

24 of the world’s 100,000 most visited websites.

25            51.    The Facebook Pixel is an invisible 1x1 web bug that Facebook makes available to
26 web-developers to help track ad-driven activity from Facebook and others on their website.

27

28   4
         https://www.facebook.com/business/learn/facebook-ads-pixel

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 1 Facebook markets the Pixel as a way to “make sure . . . ads are shown to the right people,” improve

 2 user experience, target advertisements, and drive sales. The Facebook Pixel is provided free of

 3 charge to third-party advertisers.

 4             52.   Key features of the Facebook Pixel include its ability to help developers:
 5                      a. “Measure cross-device conversions” and “understand how your cross-device
 6                          ads help influence conversion”;
 7                      b. “Optimize delivery to people likely to take action” and “ensure your ads are
 8                          shown to the people most likely to take action”; and
 9                      c. “Create custom audience from website visitors” and create “dynamic ads [to]
10                          help you automatically show website visitors the products they viewed on
11                          your website – or related ones.”
12                      d. Facebook describes the Facebook Pixel as “a snippet of Javascript code” that
13                          “relies on Facebook cookies, which enable [Facebook] to match ... website
14                          visitors to their respective Facebook User accounts.”
15             53.   Facebook further explains “How the Facebook Pixel Works”: “When someone visits
16 your website and takes an action (for example, buying something), the Facebook pixel is triggered

17 and reports this action. This way, you’ll know when a customer took an action after seeing your

18 Facebook ad. You’ll also be able to reach this customer again by using a custom audience. When

19 more and more conversions happen on your website, Facebook gets better at delivering your ads to

20 people who are more likely to take certain actions. This is called conversion optimization.” 5

21             54.   Facebook provides simple instructions for developers about “Setting up the
22 Facebook Pixel”:

23                      a. “If you have access to your website’s code, you can add the Facebook pixel
24                          yourself. Simply place the Facebook pixel base code (what you see when
25                          you create your pixel) on all pages of your website. Then add standard events
26                          to the pixel code on all special pages of your website, such as your add-to-
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         Id.

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 1                         cart page or your purchase page. For full step-by-step instructions or adding
 2                         the Facebook pixel to your site, visit the Help Center.”6
 3                     b. “Many people need the help of a developer to complete this step. If that’s
 4                         the case, simply email your Facebook pixel code to them, and they can easily
 5                         add it to your site.”
 6                     c. “Create your Facebook pixel to send to your developer, or install it yourself.”
 7                     d. “Go to Ads Manager”7
 8          55.    Facebook creates the Facebook code for each developer who installs it.
 9          56.    Facebook recommends that the Pixel code be placed early in the source code for any
10 given webpage or website to ensure that the user will be tracked:

11          Installing The Pixel
12          To install the pixel, we highly recommend that you add its base code between the opening
13          and closing <head> tags on every page where you will be tracking website visitor actions.
14          Most developers add it to their website’s persistent header, so it can be used on all pages.
15          Placing the code within your <head> tags reduces the chances of browsers or third-party
16          code blocking the pixel’s execution. It also executes the code sooner, increasing the chance
17          that your visitors are tracked before they leave your page.8
18          57.    By executing the code sooner, Facebook has designed the Pixel such that Facebook
19 receives the information about taxpayers’ actions on the online taxation services’ portals/Internet

20 sites contemporaneous with their making.

21          58.    As soon as a customer takes any action on a webpage which includes the Facebook
22 Pixel—such as clicking a button to register, login, or logout of an online portal or input

23 information—Facebook’s source code commands the customer’s computing device to re-direct the

24 content of the customer’s communication to Facebook while the exchange of the communication

25 between the customer and the financial services provider is still occurring.

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27   6
     Id.
     7
     Id.
28 8
     Id.

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 1          59.    By design, Facebook receives the content of a customer’s online portal or website
 2 communication immediately after the customer clicks the log-in button and before the financial

 3 services provider receives it.

 4          60.    The cookies by which Facebook identifies customers include, but are not necessarily
 5 limited to, cookies named: c_user, datr, fr, and _fbp.

 6          61.    The c_user cookie is a means of identification for Facebook users. The c_user cookie
 7 value is the Facebook equivalent of a user identification number. Each Facebook user account has

 8 one – and only one – unique c_user cookie. Facebook uses the c_user cookie to record user activities

 9 and communications.

10          62.    A skilled computer user can obtain the c_user cookie value for any Facebook user
11 by (1) going to the user’s Facebook page, (2) right-clicking on their mouse, (3) selecting ‘View

12 page source,’ (4) executing a control-F function for “fb://profile,” and (5) copying the number value

13 that appears after “fb://profile” in the page source code of the target Facebook user’s page.

14          63.    It is even easier to find the Facebook account associated with a c_user cookie: one
15 simply needs to log-in to Facebook, and then type www.facebook.com/#, with # representing the

16 c_user cookie identifier. For example, the c_user cookie value for Mark Zuckerberg is 4. Logging

17 in to Facebook and typing www.facebook.com/4 in the web browser retrieves Mark Zuckerberg’s

18 Facebook page: www.facebook.com/zuck.

19          64.    The Facebook datr cookie identifies the customer’s specific web browser from
20 which the customer is sending the communication. It is an identifier that is unique to the customer’s

21 specific web browser and is therefore a means of identification for Facebook users.

22          65.    Facebook keeps a record of every datr cookie identifier associated with each of its
23 users, and a Facebook user can obtain a redacted list of all datr cookies associated with his or her

24 Facebook account from Facebook.

25          66.    Any Facebook user can view the specific datr cookie identifiers that Facebook has
26 associated with their account by using the Facebook Download Your Information tool.

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 1         67.     The Facebook fr cookie is an encrypted combination of the c_user and datr cookies.9
 2         68.     The Facebook _fbp cookie is a Facebook identifier that is set by Facebook source
 3 code and associated with Defendant’s use of the Facebook Pixel. The _fbp cookie is a Facebook

 4 cookie that masquerades as a first-party cookie to evade third party cookie blockers and share data

 5 more directly between financial services providers and Facebook.

 6         69.     Facebook Partner Financial Data Providers or their developers then simply copy-
 7 paste the Facebook Pixel code that Facebook creates and provides into the Facebook Partner

 8 Financial Data Providers’ web-property.

 9         70.     Facebook expressly admits that the Pixel “log[s] when someone takes an action”
10 such as “adding an item to their shopping cart or making a purchase”:

11         Once you’ve set up the Meta Pixel, the Pixel will log when someone takes an action on your
12         website. Examples of actions include adding an item to their shopping cart or making a
13         purchase. The Meta Pixel receives these actions, or events, which you can view on your
14         Meta Pixel page in Events Manager. From there, you’ll be able to see the actions that your
15         customers take. You’ll also have options to reach those customers again through future
16         Facebook ads.
17         71.     The organizational system described above relies on subjects’ pre-existing
18 Facebook-platform accounts (e.g., a Facebook or Instagram profile). But when a data-collection

19 subject lacks an account on any of Facebook’s platforms, the Facebook Pixel logs their activities

20 and sends the data to Facebook anyway. The dossiers Facebook compiles on these persons are

21 known as “shadow profiles.” When asked by Congress about these shadow profiles, Mark

22 Zuckerberg responded: “[W]e collect data on people who have not signed up for Facebook for

23 security purposes.” Facebook has not otherwise publicly revealed how it organizes and uses

24 information about non-users.

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27   9
    See Facebook Tracking Through Social Plug-ins: Technical Report prepared for the Belgian
   Privacy Commission, Mar. 27, 2015, available at
28
   https://securehomes.esat.kuleuven.be/~gacar/fb_tracking/fb_pluginsv1.0.pdf.

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                      Facebook Changed its Contractual Privacy Promises in 2018
 1
            72.     Prior to April 2018, Facebook’s contract did not “require” partners to have the lawful
 2
     rights to share user data before doing so.
 3
            73.     Upon information and belief, Facebook changed its contract with users on or about
 4
     April 19, 2018, which added a clause stating: “We require each of these partners to have lawful
 5
     rights to collect, use and share your data before providing any data to us.”
 6
            74.     The following is a side-by-side comparison of the pre- and post-April 2018 contract
 7
     provisions:
 8
             Before April 19, 2018                              After April 19, 2018
 9
             Information from websites and                      Information from partners.
10           apps that use our Services.                        Advertisers, app developers, and
             We collect information when you visit              publishers can send us information
11           or use third-party websites and apps               through Meta Business Tools they
             that use our Services (like when they              use, including our social plug-ins
12           offer our Like button or Facebook Log              (such as the Like button), Facebook
             In or use our measurement and                      Login, our APIs and SDKs, or the
13
             advertising services). This includes               Meta pixel. These partners provide
14           information about the websites and                 information about your activities off
             apps you visit, your use of our                    of       our      Products—including
15           Services on those websites and apps,               information about your device,
             as well as information the developer               websites you visit, purchases you
16           or publisher of the app or website                 make, the ads you see, and how you
             provides to you or us.                             use their services—whether or not you
17
             Information      from      third-party             have an account or are logged into our
18           partners.                                          Products. For example, a game
             We receive information about you and               developer could use our API to tell us
19           your activities on and off Facebook                what games you play, or a business
             from third-party partners, such as                 could tell us about a purchase you
20           information from a partner when we                 made in its store. We also receive
21           jointly offer services or from an                  information about your online and
             advertiser about your experiences or               offline actions and purchases from
22           interactions with them.                            third-party data providers who have
                                                                the rights to provide us with your
23                                                              information.
                                                                Partners receive your data when you
24                                                              visit or use their services or through
25                                                              third parties they work with. We
                                                                require each of these partners to have
26                                                              lawful rights to collect, use and share
                                                                your data before providing any data to
27                                                              us. Learn more about the types of
                                                                partners we receive data from.
28

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 1              Before April 19, 2018                          After April 19, 2018
 2                                                             To learn more about how we use
                                                               cookies in connection with Meta
 3                                                             Business Tools, review the Facebook
                                                               Cookies Policy and Instagram
 4                                                             Cookies Policy.
 5                   Facebook Partner Financial Data Providers’ Contractual Promises
 6
            75.       The Facebook Partner Financial Data Providers make substantively identical or
 7
     extremely similar promises in their Privacy Notices, including promises that they will protect the
 8
     privacy of their customers’ sensitive financial and tax information; that they will use and disclose
 9
     sensitive financial and tax information only for enumerated, permitted purposes, and that they will
10
     obtain the taxpayers’ consent before disclosing sensitive financial and tax for any non-enumerated
11
     purpose.
12
            76.       Each Facebook Partner Financial Data Provider has adopted a Privacy Policy that
13
     details its data-usage practices. These policies purport to be valid consents for at least some
14
     disclosures and uses of filers’ data. However, none of these purported consents are valid for the
15
     purpose of authorizing transmission of Plaintiffs or the class’s tax-return information to Facebook
16
     via the Facebook Pixel tool.
17
            77.       First, each Facebook Partner Financial Data Provider Defendant required users to
18
     agree to its terms of use and privacy policy as a condition of signing up for their online tax-
19
     preparation services. Two of the services—H&R Block and TaxAct—required users to click a
20
     checkbox indicating their consent to these agreements before signing up. The third, TaxSlayer,
21
     noted that users would be deemed to agree to its privacy policy and license agreement simply by
22
     clicking “Create Account.” Users cannot access any of the Tax-Filing Services online offerings
23
     without agreeing to these purported consents. At the same time, none of the three businesses
24
     required users to open their privacy policies or terms of use or sign and date them. In fact, none of
25
     the Facebook Partner Financial Data Providers terms of use or privacy policies contained spaces
26
     for dates or signatures.
27

28

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 1           78.    None of the Facebook Partner Financial Data Providers’ privacy policies or websites
 2 required users to open their terms and conditions or privacy policies— much less sign and/or date

 3 them. Further, none of the terms and conditions or privacy policies contained signature or date

 4 blocks.

 5           79.    In addition, none of the Facebook Partner Financial Data Providers’ purported
 6 consents mention the Facebook Pixel as an entity to which they would be providing tax information

 7 or otherwise specify the information they provided to Facebook. .

 8        Regulatory and Journalistic Investigations Reveal Facebook Practices and Procedures
                              Regarding Sensitive Financial Information
 9

10           80.    Facebook is currently part of several ongoing and past regulatory and journalistic
11 investigations into its use of sensitive financial information and tax return information. For example,

12 the Governor of New York ordered the New York State Department of Financial Services

13 (“NYDFS”) to undertake an investigation, which issued a final report in February 2021.10 In that

14 report, NYDFS acknowledged that Facebook’s Business Tools Terms prohibited app developers and

15 other third parties from sending Facebook certain data, including sensitive financial data. These

16 Terms provide that “You [i.e., the developer] will not share Customer Data with us that you know

17 or reasonably should know ... includes health, financial information, or other categories of sensitive

18 information (including any information defined as sensitive under applicable law).” Nevertheless,

19 during NYDFS’s investigation, Facebook’s representatives admitted that the company “routinely

20 obtained sensitive data from app developers” in violation of its own policies.

21           81.    The NYDFS Final Report went on to conclude the following:
22                     a. “[N]otwithstanding Facebook’s policy that app developers should not
23                         transmit sensitive data to Facebook, there were many examples where the
24

25

26
     10
      New York Dep’t of Financial Services, Report on Investigation of Facebook Inc. Data Privacy
27 Concerns (2021), available at
   https://www.dfs.ny.gov/system/files/documents/2021/02/facebook_report_20210218.pdf (last
28
   accessed Jan. 3, 2023).

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 1                        developers violated that policy and Facebook did indeed—unwittingly, it
 2                        contends—receive, store, and analyze sensitive data.”
 3                     b. “The information provided by Facebook has made it clear that Facebook’s
 4                        internal controls on this issue have been very limited and were not effective
 5                        at enforcing Facebook’s policy or preventing the receipt of sensitive data.”
 6                     c. “Facebook has repeatedly rebuffed NYDFS’s efforts to obtain information
 7                        that would have provided more fulsome transparency with respect to the
 8                        scope and scale of the problem. Though Facebook acknowledges the
 9                        problem—i.e., that in the past it did receive sensitive information from app
10                        developers contrary to its own policy—it has failed to provide sufficient detail
11                        about, among other things, specifically what kinds of sensitive information
12                        was obtained, how regularly it was received, or which app developers violated
13                        the rules by transmitting such information.”
14                     d. “As noted, the sharing of sensitive user information by an app developer is a
15                        violation of Facebook Business Tools’ terms of service. Merely stating a rule,
16                        however, has little meaning if the rule is not enforced, and the unfortunate
17                        fact is that Facebook does little to track whether app developers are violating
18                        this rule and takes no real action against developers that do.”
19                     e. “The Department finds Facebook’s efforts here seriously lacking and
20                        recommends it undertake significant additional steps to police its own rules.
21                        Even assuming a strong screening program on the back end, Facebook must
22                        take steps to determine whether app developers are transmitting sensitive
23                        data.”
24          82.    In June 2022—nearly a year and a half after NYDFS issued its report—investigative
25 journalists at The Markup revealed that the Facebook Pixel was installed on the patient portals and

26 websites of dozens of the nation’s top hospitals. Using a custom-built “Pixel inspector,” these

27 journalists showed that Meta was collecting patients’ names, the dates and times of their medical

28 appointments, and the names of their doctors. Meta is currently facing several class-action lawsuits

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 1 arising from this collection of patients’ medical data, which allege that the collection of this

 2 information violated the Health Insurance Portability and Accountability Act (“HIPAA”).11

 3         83.    In April 2022, the online news outlet Motherboard published a leaked Facebook
 4 internal memorandum that revealed a much bleaker picture regarding the nature of Facebook’s data-

 5 gathering operation.12 There, Facebook engineers analyzed their company’s “privacy infrastructure”

 6 and made recommendations for “long-range investments” to address mounting regulatory and legal

 7 scrutiny. They were shockingly direct. Their conclusions included:

 8                    a. “We do not have an adequate level of control and explainability over how our
 9                        systems use data, and thus we can’t confidently make controlled policy
10                        changes or external commitments such as ‘we will not use X data for Y
11                        purpose.’ And yet, this is exactly what regulators expect us to do, increasing
12                        our risk of mistakes and misrepresentation.”
13                    b. “If we can’t enumerate all the data we have––where it is; where it goes; how
14                        it’s used––then how can we make commitments about it to the outside
15                        world?”
16                    c. “We’ve built systems with open borders. The result of these open systems and
17                        open culture is well described with an analogy: Imagine you hold a bottle of
18                        ink in your hand. This bottle of ink is a mixture of all kinds of user data (3PD
19                        [i.e., Third-Party Data], 1PD [i.e., First-Party Data], SCD [i.e., Sensitive
20                        Customer Data], Europe, etc.) You pour that ink into a lake of water (our open
21                        data systems; our open culture) ... and it flows ... everywhere. How do you
22                        put that ink back in the bottle? How do you organize it again, such that it only
23                        flows to the allowed places in the lake?”
24

25   11
      See The Markup, Facebook is Receiving Sensitive Medical Information from Hospital Websites
26 (June 16, 2022), available at https://themarkup.org/pixel-hunt/2022/06/16/facebook-is-receiving-
   sensitive-medical-information-from-hospital-websites (last accessed Jan. 3, 2023).
27 12 See Lorenzo Franceschi-Biccherai (Motherboard), ABP Privacy Infra, Long Range Investments
   (2021), available at https://www.documentcloud.org/documents/21716382-facebook-data-lineage-
28
   internal-document (last accessed Jan. 3, 2023).

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 1          84.     In November 2022, The Markup published additional information regarding
 2 Facebook’s data-gathering practices, specifically related to the tax and financial information

 3 shared.13 “Major tax filing services such as H&R Block, TaxAct, and TaxSlayer have been quietly

 4 transmitting sensitive financial information to Facebook when Americans file their taxes,” The

 5 Markup found, “including data on users’ income, filing status, refund amounts, and dependents’

 6 college scholarship amounts.” More than 150 million Americans file individual tax returns

 7 electronically each year. The Markup’s reporting revealed that Meta gathered financial information

 8 from tens of millions of those filers through the Pixel, embedded on tax-filing services’ websites.

 9          85.     For example, when users sign up for TaxAct, they are asked to provide information
10 to calculate their returns—including how much money they make and the amount and nature of their

11 investments. The Facebook Pixel on TaxAct’s website sends that data to Facebook, including users’

12 filing status, their adjusted gross income, and the amount of their tax refund. The Facebook Pixel

13 also sent the names of filers’ dependents in an obfuscated but reversible format. TaxAct has about

14 three million annual users.

15          86.     Tax-preparation heavyweight H&R Block similarly offers its users an online filing
16 option, with 6.7 million online filings in 2020. H&R Block embedded the Facebook Pixel on its site

17 and gathered filers’ health savings account usage and dependents’ college tuition grants and

18 expenses.

19          87.     TaxSlayer, another widely used filing service, also sent sensitive financial
20 information to Facebook as part of Facebook’s “advanced matching system,” which gathers

21 information on web visitors to link them to Facebook accounts. The information gathered through

22 the Facebook Pixel on TaxSlayer’s site included phone numbers, the name of the user filling out the

23 form, and the names of any dependents added to the form. TaxSlayer users completed more than 10

24 million federal and state returns last year.

25

26

27   13
     See The Markup, Tax Filing Websites Have Been Sending Users’ Financial Information to
   Facebook (Nov. 22, 2022), available at https://themarkup.org/pixel-hunt/2022/11/22/tax-filing-
28
   websites-have-been-sending-users-financial-information-to-facebook (last accessed Jan. 3, 2023).

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 1          88.     In addition, the Pixels embedded by TaxSlayer and TaxAct used the feature called
 2 “automatic advanced matching” that scans forms looking for fields that contain personally

 3 identifying information like phone numbers, first names, last names, or email addresses, and then

 4 sends the detected information to Meta. On TaxSlayer’s site this feature collected phone numbers

 5 and the names of filers and their dependents. On TaxAct it collected the names of dependents.

 6                                  CLASS ACTION ALLEGATIONS
 7          89.     Plaintiffs file this as a class action on behalf of themselves and the following
 8 nationwide class pursuant to Fed. R. Civ. P. 23(a) and 23(b)(3):

 9                  All Facebook users who are current or former customers of any financial
                    services or tax-preparation software company in the United States with web
10                  properties through which Facebook acquired sensitive financial or tax
                    information for which neither the financial services company nor Facebook
11
                    obtained a valid consent.
12          90.     Where appropriate, the above-defined class is referred to as the “Class.”
13          91.     Excluded from the Class are the Court and its personnel and Facebook and their
14 officers, directors, employees, affiliates, legal representatives, predecessors, successors and assigns,

15 and any entity in which any of them have a controlling interest.

16          92.     Plaintiffs reserve the right to amend the class definitions, including creating
17 subclasses as necessary, after having had an opportunity to conduct discovery.

18          93.     Certification of Plaintiffs’ claims for class-wide treatment is appropriate because
19 Plaintiffs can prove the elements of the claims on a class-wide basis using the same evidence as

20 would be used to prove those elements in individual actions alleging the same claims.

21          94.     Numerosity. Consistent with Fed. R. Civ. P. 23(a)(1), the members of the Class are
22 so numerous that joinder is impracticable. While the exact number of Class Members is unknown

23 to Plaintiffs at this time, the proposed Class includes at least tens of millions of individuals who may

24 be identified through objective means.

25          95.     Commonality and Predominance. Consistent with Fed. R. Civ. P. 23(a)(2) and
26 23(b)(3), common questions of law and fact are apt to drive resolution of the case, exist as to all

27 members of the Class and predominate over any questions affecting solely individual members of

28 the Class including, but not limited to, the following:

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 1                     a. Whether the Facebook Pixel is designed to send individually identifiable
 2                        information to Facebook;
 3                     b. Whether Facebook failed to require Facebook Partner Financial Data
 4                        Providers to have lawful rights to share sensitive financial data with Facebook
 5                        before deploying the Facebook Pixel;
 6                     c. Whether Facebook acquired sensitive financial data or tax record information;
 7                     d. Whether Plaintiffs and the Class provided authorization for Facebook to
 8                        acquire their sensitive financial data or tax record information or
 9                        communications with tax providers regarding the same;
10                     e. Whether the Facebook Pixel’s presence and use on Facebook Partner
11                        Financial Data Provider websites where it discloses actions that customers
12                        take relating to tax records and personal financial information to their
13                        Facebook Partner Financial Data Providers is highly offensive;
14                     f. Whether the Pixel is designed to and in fact does send individually identifiable
15                        financial and personal tax-related information to Facebook;
16                     g. Whether Facebook’s acquisition of the content of communications between
17                        customers and their Facebook Partner Financial Data Providers occurred
18                        contemporaneous to their making;
19                     h. Whether Facebook breached its contracts with users;
20                     i. Whether the information at issue has economic value; and
21                     j. Whether Defendant unjustly profited from their conveyance and collection of
22                        sensitive financial data and tax record information.
23          96.    Typicality. Consistent with Fed. R. Civ. P. 23(a)(3), the named Plaintiffs’ claims are
24 typical of the claims of other Class Members, as all members of the Class were similarly affected by

25 Defendant’s wrongful conduct in violation of federal and state law, as complained of herein.

26          97.    Adequacy. Consistent with Fed. R. Civ. P. 23(a)(4), the named Plaintiffs will fairly
27 and adequately protect the interests of the members of the Class and have retained counsel that is

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 1 competent and experienced in class action litigation. The named Plaintiffs have no interests that

 2 conflict with, or are otherwise antagonistic to, the interests of, other Class Members.

 3          98.     Superiority. Consistent with Fed. R. Civ. P. 23(b)(3), a class action is superior to all
 4 other available methods for the fair and efficient adjudication of this controversy since joinder of all

 5 Class Members is impracticable. Further, as the damages that individual Class Members have

 6 suffered may be relatively small, the expense and burden of individual litigation make it impossible

 7 for members of the Class to individually redress the wrongs done to them. There will be no difficulty

 8 in management of this action as a class action.

 9          99.     Class certification, therefore, is appropriate under Fed. R. Civ. P. 23(b)(3), because
10 the common questions of law and fact predominate over any questions affecting individual Class

11 Members, a class action is superior to other available methods for the fair and efficient adjudication

12 of this controversy, and the requirements of Rule 23(a) are met.

13                                                TOLLING
14          100.    Any applicable statute of limitations has been tolled by Defendant’s knowing and
15 active concealment of the misrepresentations and omissions alleged herein. Through no fault or lack

16 of diligence, Plaintiffs and members of the Class were deceived and could not reasonably discover

17 Defendant’s deception and unlawful conduct.

18          101.    Plaintiffs and members of the Class did not discover and did not know of any facts
19 that would have caused a reasonable person to suspect that Facebook was acting unlawfully and in

20 the manner alleged herein. As alleged herein, the representations made by Defendant were material

21 to Plaintiffs and members of the Class at all relevant times. Within the time- period of any applicable

22 statutes of limitations, Plaintiffs and members of the Class could not have discovered through the

23 exercise of reasonable diligence the alleged wrongful conduct.

24          102.    At all times, Defendant is and was under a continuous duty to disclose to Plaintiffs
25 and members of the Class the true nature of the disclosures being made and the lack of an actual

26 “requirement” before the data was shared with Facebook.

27          103.    Defendant knowingly, actively, affirmatively and/or negligently concealed the facts
28 alleged herein. Plaintiffs and members of the Class reasonably relied on Defendant’s concealment.

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 1          104.    For these reasons, all applicable statutes of limitation have been tolled based on the
 2 discovery rule and Defendant’s concealment, and Defendant is estopped from relying on any statutes

 3 of limitations in defense of this action.

 4                                         CAUSES OF ACTION
 5                                      FIRST CAUSE OF ACTION
 6                                      BREACH OF CONTRACT
 7          105.    Plaintiffs hereby incorporate all prior paragraphs as if fully stated herein.
 8          106.    Facebook requires users to click a box indicating that, “By clicking Sign Up, you
 9 agree to our Terms, Data Policy and Cookies Policy.”

10          107.    “Click-wrap agreements” such as those at issue herein are valid and binding
11 contracts.

12          108.    The Facebook Terms are binding on Facebook and its users.
13          109.    The Facebook Data Policy is binding on Facebook and its users.
14          110.    The Facebook Cookies Policy is binding on Facebook and its users.
15          111.    The Facebook Data Policy promises users that Facebook “requires each of
16 [Facebook’s] partners to have lawful rights to collect, use and share your data before providing any

17 data to [Facebook].”

18          112.    Facebook breached this contractual promise, as described in detail above, by not
19 requiring its Facebook Partner Financial Data Providers to obtain consent before sharing sensitive

20 financial information and/or tax records and other data relating to online portal registration, logins,

21 and logouts with Facebook through the Facebook Pixel and through other means.

22          113.    The Facebook Partner Financial Data Providers promise in their Privacy Policies that
23 they will protect the privacy of Plaintiffs’ sensitive financial information and/or tax records; that

24 they will use and disclose this information only for enumerated, permitted purposes, and that they

25 will obtain the customer’s consent before disclosing their financial and/or tax record information for

26 any non-enumerated purpose.

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 1          114.    The Facebook Partner Financial Data Providers breached these contractual promises
 2 when they conveyed sensitive financial information and/or tax record information to Facebook via

 3 the Facebook Pixel without obtaining their customers’ consent.

 4          115.    In addition to the express contract provisions set forth above, implied contracts
 5 existed between Defendant and Plaintiffs that Defendant would not conspire with others to violate

 6 Plaintiffs’ legal rights to privacy in their individually identifiable sensitive financial information.

 7          116.    Plaintiffs are Facebook account holders who used Facebook Partner Financial Data
 8 Providers’ online portals and/or web-properties through which Facebook obtained their individually

 9 identifiable sensitive financial information.

10          117.    The user financial and personal information that Facebook obtained in breach of the
11 contracts included tax filers’ names, usernames, IP addresses, the devices they used, their incomes,

12 their tax-filing status, the amount of their tax returns, their number of dependents, the names of their

13 dependents, and the amount of their dependents’ college scholarships (if any).

14          118.    Defendant’s breaches caused Plaintiffs and Class Members the following damages:
15 nominal damages for breach of contract; general damages for invasion of their privacy rights in an

16 amount to be determined by a jury without reference to specific pecuniary harm; sensitive and

17 confidential information including financial and personal information that Plaintiffs and Class

18 Members intended to remain private are no longer private; Defendant eroded the essential

19 confidential nature of the filer-tax preparer relationship; Defendant took something of value from

20 Plaintiffs and Class Members and derived benefits therefrom without Plaintiffs’ and Class Members’

21 knowledge or informed consent and without sharing the benefit of such value; and, benefit of the

22 bargain damages in that Defendant’s contracts stated that payment for their services would consist

23 of a more limited set of collection of personal information than that which Defendant actually

24 charged.

25                                    SECOND CAUSE OF ACTION
26                                 GOOD FAITH AND FAIR DEALING
27          119.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
28          120.    A valid contract exists between Plaintiffs and Facebook.

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 1          121.   The contract specifies that California law governs the parties’ relationship.
 2          122.   Facebook prevented Plaintiffs and Class Members from receiving the full benefit of
 3 the contract by intercepting the content of protected individually identifiable financial and personal

 4 information exchanged with tax filing services and financial services providers.

 5          123.   By doing so, Facebook abused its power to define terms of the contract, specifically
 6 the meaning of the term “require” in Facebook’s promise that it would “require” partners to have

 7 lawful rights to share users’ data with Facebook before doing so and then taking no action (and

 8 actually encouraging) financial providers to share protected financial and tax record information

 9 without valid authorization.

10          124.   By doing so, Facebook did not act fairly and in good faith.
11          125.   Facebook’s breach caused Plaintiffs and Class Members the following damages:
12 nominal damages for breach of contract; general damages for invasion of their privacy rights in an

13 amount to be determined by a jury without reference to specific pecuniary harm; sensitive and

14 confidential information including financial and personal information that Plaintiffs and Class

15 Members intended to remain private are no longer private; Facebook eroded the essential

16 confidential nature of the filer-tax preparer relationship; Facebook took something of value from

17 Plaintiffs and Class Members and derived benefits therefrom without Plaintiffs’ and Class Members’

18 knowledge or informed consent and without sharing the benefit of such value; and, benefit of the

19 bargain damages in that Facebook’s contract stated that payment for its services would consist of a

20 more limited set of collection of personal information than that which Facebook actually charged.

21                                    THIRD CAUSE OF ACTION
22      INTRUSION UPON SECLUSION—CONSTITUTIONAL INVASION OF PRIVACY
23
            126.   Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
24
            127.   Article I, section 1 of the California Constitution provides:
25

26                 All people are by nature free and independent and have inalienable
                   rights. Among these are enjoying and defending life and liberty,
27                 acquiring, possessing, and protecting property, and pursuing and
                   obtaining safety, happiness, and privacy.
28

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     Cal. Const. art. I, § 1 (emphasis added).
 1
            128.    Plaintiffs had no knowledge and did not consent or authorize Facebook Partner
 2
     Financial Data Providers to convey or Defendant Facebook to obtain the content of their
 3
     communications with their financial services or tax-service providers as described herein.
 4
            129.    Plaintiffs enjoyed objectively reasonable expectations of privacy surrounding
 5
     communications with their Facebook Partner Financial Data Providers based on:
 6
                        a. The tax-preparation providers’ status as trusted recipients of their most
 7
                            sensitive financial and personal information;
 8
                        b. The laws and regulations prohibiting disclosure of tax return information
 9
                            cited herein;
10
                        c. the Electronic Communications Privacy Act, and;
11
                        d. Facebook’s promise that it would “require” partners to have lawful
12
                            permission to share their data before Facebook would collect it.
13
            130.    Plaintiffs’ claims are based on the following private facts:
14
                        a. that Plaintiffs and the Class are customers of the various tax-preparation
15
                            providers specified herein;
16
                        b. the specific dates and times Plaintiffs and the Class clicked to log-in or log-
17
                            out of the various tax-preparation providers’ user portals;
18
                        c. the specific and detailed communications exchanged while logged in the tax-
19
                            preparation providers’ user portals, and;
20
                        d. the specific dates and times when Plaintiffs and the Class submitted their taxes
21
                            and information incorporated into those tax filings.
22
            131.    Defendant’s conduct was intentional and intruded on Plaintiffs’ and Class Members’
23
     personal and financial communications which constitute private conversations, matters, and data.
24
            132.    Defendant’s conduct in acquiring and conveying financial and personal tax-related
25
     communications would be highly offensive to a reasonable person because:
26

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 1                    a. Facebook conspired with Plaintiffs’ and the Class members’ tax-preparation
 2                        service providers, including the Facebook Partner Financial Data Providers,
 3                        to violate a cardinal rule of the filer-tax preparer relationship;
 4                    b. Defendant’s conduct violated federal law designed to protect tax-preparation
 5                        services’ users’ privacy;
 6                    c. Defendant’s conduct violated the Electronic Communications Privacy Act;
 7                    d. Defendant’s conduct violated the express promises it made to users.
 8         133.    Defendant’s breaches caused Plaintiffs and Class Members the following damages:
 9 nominal damages for breach of contract; general damages for invasion of their privacy rights in an

10 amount to be determined by a jury without reference to specific pecuniary harm; sensitive and

11 confidential information including financial and personal information that Plaintiffs and Class

12 Members intended to remain private are no longer private; Defendant eroded the essential

13 confidential nature of the filer-tax preparer relationship; Defendant took something of value from

14 Plaintiffs and Class Members and derived benefits therefrom without Plaintiffs’ and Class Members’

15 knowledge or informed consent and without sharing the benefit of such value; and, benefit of the

16 bargain damages in that Defendant’s contracts stated that payment for their services would consist

17 of a more limited set of collection of personal information than that which Defendant actually

18 charged.

19                                   FOURTH CAUSE OF ACTION
20         VIOLATION OF THE ELECTRONIC COMMUNICATIONS PRIVACY ACT
21         134.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
22         135.    The Electronic Communications Privacy Act (“ECPA”) prohibits the intentional
23 interception of the contents of any electronic communication. 18 U.S.C. § 2511.

24         136.    The ECPA protects both the sending and receipt of communications.
25         137.    18 U.S.C. § 2520(a) provides a private right of action to any person whose electronic
26 communications are intercepted.

27         138.    Facebook intentionally intercepted, and Facebook Partner Financial Data Providers
28 sent to Facebook, the electronic communications that Plaintiffs exchanged with their respective

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 1 Facebook Partner Financial Data Providers on the providers’ web properties where the Facebook

 2 Pixel was present.

 3         139.   The transmissions of data between Plaintiffs and their financial services and tax
 4 preparer providers qualify as communications under the ECPA’s definition in 18 U.S.C. § 2510(12).

 5         140.   The Facebook Partner Financial Data Providers sent, and Defendant Facebook
 6 acquired, Plaintiffs’ and Class Members’ communications with their financial services and tax

 7 providers as alleged herein contemporaneous with their making.

 8         141.   The intercepted communications include:
 9                      a. the content of user registrations for various tax-preparation service portals,
10                         including clicks on buttons to “Register” or “Signup” for said portals;
11                      b. the contents of communications that users exchange with their tax-preparation
12                         providers inside various web portals immediately before logging out of those
13                         portals; and
14                      c. the contents of communications relating to users’ financial and personal
15                         information provided for the purpose of preparing tax filings.
16         142.   The following constitute “devices” within the meaning of 18 U.S.C. § 2510(5):
17                      a. The cookies Facebook used to track users’ communications;
18                      b. The users’ browsers;
19                      c. The users’ computing devices;
20                      d. Facebook’s web-servers;
21                      e. The web-servers of the Facebook Partner Financial Data Providers web
22                         properties where the Facebook Pixel was present; and
23                      f. The Facebook Pixel source code deployed by Defendant to effectuate the
24                         sending and acquisition of sensitive financial communications.
25         143.   Facebook      is   not   a   party   to   users’   communications   with    their   tax-
26 preparation service providers.

27

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 1          144.    The Facebook Partner Financial Data Providers sent to Facebook, and Facebook
 2 received, the content of user communications through the surreptitious redirection of them from

 3 users’ computing devices to Facebook.

 4          145.    Users did not consent to the Facebook Partner Financial Data Providers sending, or
 5 to Facebook’s acquisition of, their communications with their tax-preparation service providers and

 6 with the Facebook Partner Financial Data Providers.

 7          146.    Neither Facebook nor the Facebook Partner Financial Data Providers obtained legal
 8 authorization to obtain or convey tax-related communications with tax-preparer or financial services

 9 providers related to tax filings or sensitive financial information.

10          147.    Facebook did not require any Facebook Partner Financial Data Providers to obtain,
11 and the Facebook Partner Financial Data Providers did not obtain, the lawful rights to share the

12 content of tax-related communications with tax-preparer or financial services providers related to

13 tax filings or sensitive financial information.

14          148.    Any purported consent that Facebook received from Facebook Partner Financial Data
15 Providers was not valid.

16          149.    In sending and in acquiring the content of tax-related communications with tax-
17 preparer or financial services providers related to tax filings or sensitive financial information,

18 Defendant had a purpose that was tortious, criminal, and designed to violate federal and state legal

19 and constitutional provisions including:

20                     a. A knowing intrusion into a private, place, conversation, or matter that would
21                         be highly offensive to a reasonable person;
22                     b. A violation of 42 U.S.C. § 1320d-6, which is a criminal offensive punishable
23                         by fine or imprisonment;
24                     c. Violation of state unfair business practice statutes;
25                     d. Violation of the laws and regulations prohibiting disclosure of tax return
26                         information cited previously; and
27                     e. Violation of Article I, section 1 of the California Constitution.
28

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 1             150.   Defendant knew that such conduct would be highly offensive, as evidenced by
 2 Facebook’s announcement in April 2018, that it would no longer allow advertising targeted based

 3 on finances yet continued to use the Facebook Pixel on Facebook Partner Financial Data Providers’

 4 properties for that purpose.

 5                                       FIFTH CAUSE OF ACTION
 6                                     THE FEDERAL WIRETAP ACT
 7                                            (18 U.S.C. §§ 2510, 2512)
 8
               151.   Plaintiffs repeat the allegations contained in the paragraphs above as if fully set forth
 9
     herein.
10
               152.   Plaintiffs bring this claim individually and on behalf of Class members against
11
     Facebook.
12
               153.   The Federal Wiretap Act, as amended by the Electronic Communications Privacy Act
13
     of 1986, prohibits the intentional interception of the contents of any wire, oral, or electronic
14
     communications through the use of a device. 18 U.S.C. § 2511.
15
               154.   The Wiretap Act protects both the sending and receiving of communications.
16
               155.   18 U.S.C. § 2520(a) provides a private right of action to any person whose wire, oral
17
     or electronic communication is intercepted.
18
               156.   Facebook’s actions in intercepting and tracking the information at issue here was
19
     intentional and done for the purpose of violating laws prohibiting the unlawful disclosure and review
20
     of tax information.
21
               157.   Facebook’s intentional interception of internet communications that Plaintiffs and
22
     Class members were sending and receiving while navigating websites that integrated the Facebook’s
23
     Pixel Tool was done contemporaneously with the Plaintiffs’ and Class members’ sending and receipt
24
     of those communications.
25
               158.   The communications intercepted by Facebook included “contents” of electronic
26
     communications made from Plaintiffs.
27

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 1          159.   The transmission of data between Plaintiffs and Class members and Facebook were
 2 “transfer[s] of signs, signals, writing, ... data, [and] intelligence of [some] nature transmitted in

 3 whole or in part by a wire, radio, electromagnetics, photoelectronic, or photooptical system that

 4 affects interstate commerce[,]” and were therefore “electronic communications” within the meaning

 5 of 18 U.S.C. § 2510(12).

 6          160.   Facebook’s Pixel Tool is an “electronic, mechanical, or other device” as defined by
 7 18 U.S.C. § 2510(5) and is primarily useful for the purpose of the surreptitious interception of

 8 electronic communications.

 9          161.   Facebook was not an authorized party to the communications because Plaintiffs and
10 Class members were unaware of Facebook’s monitoring. Class members did not consent to

11 Facebook’s interception or continued gathering of user communications.

12          162.   Facebook’s interception was unlawful and tortious and was done in furtherance of
13 one or more crimes barring disclosure or review of confidential tax information, and tortious

14 invasion of privacy.

15          163.   After intercepting the communications, Facebook used the contents of the
16 communications knowing or having reason to know that such information was obtained through the

17 interception of electronic communications in violation of 18 U.S.C. § 2511(a).

18          164.   18 U.S.C. § 2512, in pertinent part, holds “any person” liable who manufactures,
19 assembles, or sells “any electronic, mechanical, or other device, knowing or having reason to know

20 that the design of such device renders it primarily useful for the purpose of the surreptitious

21 interception of wire, oral, or electronic communications, and that such device or any component

22 thereof has been or will be sent through the mail or transported in interstate or foreign commerce.

23 18 U.S.C. § 2512(1)(b).

24          165.   Defendant manufactured, marketed, and sold its technology with knowledge that it
25 would primarily be used to illegally intercept electronic communications.

26          166.   Defendant’s conduct violated 18 U.S.C. § 2512 and therefore gives rise to a claim
27 under 18 U.S.C. § 2520, under which Plaintiffs and Class Members are entitled to the greater of

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 1 actual damages or statutory damages of not less than $100 a day for each day of violation or $10,000,

 2 whichever is greater.

 3            167.   Plaintiffs seek all available relief for the violations asserted here.
 4                                       SIXTH CAUSE OF ACTION
 5                         THE CALIFORNIA INVASION OF PRIVACY ACT
 6                                     (Cal. Penal Code §§ 631 and 632)
 7
              168.   Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
 8
              169.   The California Invasion of Privacy Act (CIPA) is codified at Cal. Penal Code §§ 630-
 9
     638. The Act begins with its statement of purpose: “The legislature hereby declares that advances in
10
     science and technology have led to the development of new devices and techniques for the purpose
11
     of eavesdropping upon private communications and that the invasion of privacy resulting from the
12
     continual and increasing use of such devices and techniques has created a serious threat to the free
13
     exercise of personal liberties and cannot be tolerated in a free and civilized society.” Cal. Penal Code
14
     § 630.
15
              170.   Cal. Penal Code § 631(a) provides, in pertinent part: “Any person who, by means of
16
     any machine, instrument, or contrivance, or in any other manner .... willfully and without the consent
17
     of all parties to the communication, or in any unauthorized manner, reads, or attempts to read, or to
18
     learn the contents or meaning of any message, report, or communication while the same is in transit
19
     or passing over any wire, line, or cable, or is being sent from, or received at any place within this
20
     state; or who uses, or attempts to use, in any manner, or for any purpose, or to communicate in any
21
     way, any information so obtained, or who aids, agrees with, employs, or conspires with any person
22
     or persons to lawfully do, or permit, or cause to be done any of the acts or things mentioned above
23
     in this section, is punishable by a fine not exceeding two thousand five hundred dollars.”
24
              171.   Cal. Penal Code § 632 provides, in pertinent part, that it is unlawful for any person
25
     “intentionally and without the consent of all parties to a confidential communication,” to “use[] [a]
26
     recording device to ... record the confidential communication.” As used in the statute, a “confidential
27

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 1 communication” is “any communication carried on in circumstances as may reasonably indicate that

 2 any party to the communication desired it to be confined to the parties thereto[.]”

 3          172.   Facebook is a “person” within the meaning of CIPA §§ 631 and 632.
 4          173.   Facebook did not have the consent of all parties to learn the contents of or record the
 5 confidential communications at issue.

 6          174.   Facebook is headquartered in California, designed and contrived and effectuated its
 7 scheme to track the communication at issue here from California, and has adopted California

 8 substantive law to govern its relationship with users.

 9          175.   At all relevant times, Facebook’s conduct alleged herein was without the
10 authorization and consent of the Plaintiffs and Class Members.

11          176.   Facebook’s actions were designed to learn or attempt to learn the meaning of the
12 communications exchanged by its users with their financial services and tax-preparation providers.

13          177.   Facebook’s learning of or attempt to learn the contents of sensitive financial
14 communications occurred while they were in transit or in the process of being sent or received.

15                                  SEVENTH CAUSE OF ACTION
16                              NEGLIGENT MISREPRESENTATION
17          178.   Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
18          179.   Facebook represented to Plaintiffs and the Class members that a fact was true,
19 namely, that before receiving the confidential information at issue, Facebook “requires” businesses

20 “to have lawful rights to collect, use, and share [Plaintiffs’ and Class members’] data before

21 providing any data” to Facebook.

22          180.   Facebook Partner Financial Data Providers represented to Plaintiffs and Class
23 members Class that a fact was true, namely that they would not disclose the confidential information

24 at issue for any reason or use not specifically listed in its Privacy Policies without obtaining

25 Plaintiffs’ and Class members’ consents.

26          181.   Defendant’s representations were not true.
27

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 1          182.    Although Defendant may have honestly believed that its representations were true,
 2 Defendant had no reasonable grounds for believing its representations were true when they were

 3 made.

 4          183.    Defendant intended that Plaintiffs and Class members rely on its representations.
 5          184.    Plaintiffs and Class members reasonably relied on Defendant’s representations.
 6          185.    Plaintiffs and Class members were harmed as set forth above.
 7          186.    Plaintiffs and Class members’ reliance on Defendant’s representations was a
 8 substantial factor in causing the harm.

 9                                    EIGHTH CAUSE OF ACTION
10                 VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
11                               (Cal. Bus. & Prof. Code §§ 17200, et seq.)
12          187.    Plaintiffs hereby incorporate all other paragraphs as if fully stated herein.
13          188.    California Business and Professions Code section 17200 (“UCL”) prohibits any
14 “unlawful, unfair, or fraudulent business act or practice and unfair, deceptive, untrue or misleading

15 advertising . . ..”

16          189.    Facebook has engaged in unlawful, fraudulent, and unfair business acts and practices
17 in violation of the UCL.

18          190.    Defendant has engaged in unlawful acts or practices under section 17200 by its
19 violations of the California Constitution’s right to privacy, ECPA and California Penal Code sections

20 631 and 632, through the acts and practices set forth in this Complaint.

21          191.    Defendant has engaged in fraudulent business acts or practices under section 17200
22 because its misrepresentations and omissions regarding its requirement that businesses have lawful

23 rights to collect, use, and share Plaintiffs’ and Class Members’ data before providing any data to

24 Defendant, and Defendant’s receipt of the confidential information at issue, were intended to, were

25 likely to, and did deceive reasonable consumers such as Plaintiffs and the Class. The information

26 Defendant misrepresented and concealed would be, and is, material to reasonable consumers because

27 Defendant does not require businesses to have lawful rights to collect, use, and share Plaintiffs’ and

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 1 Class members’ data before providing any data to Defendant and Defendant receives the confidential

 2 information at issue nonetheless.

 3          192.   Defendant has engaged in unfair acts and practices under section 17200 based on the
 4 acts and practices alleged herein, namely, that Defendant claims that it requires businesses to “have

 5 lawful rights to collect, use, and share [Plaintiffs’ and Class Members’] data before providing any

 6 data” to Defendant, but in reality knows (or should have known) that the Facebook Pixel is being

 7 improperly used on tax preparation websites resulting in the wrongful, contemporaneous, redirection

 8 to Facebook of sensitive financial communications without the knowledge or authorization of

 9 Plaintiffs or Class Members.

10          193.   Facebook’s actions offend public policy.
11          194.   Facebook’s conduct, misrepresentations and omissions have also impaired
12 competition within the tax-preparation and financial services market in that those actions have

13 prevented Plaintiffs and Class members from making fully informed decisions about whether to

14 communicate online with their financial services providers and to use their providers’ websites in

15 the first instance.

16          195.   Plaintiffs and Class members have suffered an injury in fact, including the loss of
17 money and/or property, as a result of Defendant’s unfair, unlawful and/or deceptive practices, to wit,

18 the disclosure of their personally identifiable data which has value as is demonstrated by the use and

19 sale of it by Defendant. While only an identifiable “trifle” of injury is needed to be shown, as set

20 forth above, Plaintiffs, the Class members, and the public at large value their sensitive financial

21 information at more than a trifle. And sale of this confidential and valuable information has now

22 diminished the value of such information to Plaintiffs and the Class.

23          196.   Facebook’s actions caused damage to and loss of Plaintiffs’, Class members’ and
24 other taxpayers’ property right to control the dissemination and use of their personally identifiable

25 financial and tax data and communications.

26          197.   Defendant’s actions caused damage to and loss of Plaintiffs’, Class members’ and
27 other taxpayers’ property rights to control the dissemination and use of the personally identifiable

28 communications.

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 1          198.    Facebook’s representation that it requires businesses to “have lawful rights to collect,
 2 use, and share [Plaintiffs’ and Class members’] data before providing any data” to Defendant was

 3 untrue. Again, had Plaintiffs and Class members known these facts, they would not have used their

 4 tax preparer’s or financial services provider’s website, or would have paid less for the services

 5 rendered.

 6          199.    The wrongful conduct alleged herein occurred, and continues to occur, in the conduct
 7 of Facebook’s business. Defendant’s wrongful conduct is part of a pattern or generalized course of

 8 conduct that is still perpetuated and repeated, in the State of California.

 9          200.    Plaintiffs and the Class request that this Court enjoin Defendant from continuing its
10 unfair, unlawful, and/or deceptive practices and to restore to Plaintiffs and the Class, in the form of

11 restitution, any money Defendant acquired through its unfair competition.

12                                     NINTH CAUSE OF ACTION
13                   VIOLATION OF THE ILLINOIS CONSUMER FRAUD ACT
14                                          (815 ILCS §§ 505, et seq.)
15          201.    Plaintiffs re-allege and incorporate all of the allegations contained in the preceding
16 paragraphs.

17          202.    This claim is brought under the laws of Illinois and on behalf of Plaintiffs Craig and
18 Bryant and all other natural persons who were defrauded by Facebook and reside in states having

19 similar laws regarding consumer fraud.

20          203.    Defendant is a “person” as defined by 815 Ill. Comp. Stat. §§ 505/1(c).
21          204.    Plaintiffs and Class members are “consumers” as defined by 815 Ill. Comp. Stat.
22 §§ 505/1(e).

23          205.    Defendant’s conduct as described herein was in the conduct of “trade” or
24 “commerce” as defined by 815 Ill. Comp. Stat. § 505/1(f).

25          206.    Defendant’s fraudulent business practices, in violation of 815 Ill. Comp. Stat.
26 § 505/2, include the acts and practices alleged herein and throughout the Complaint, namely, that

27 Defendant claims that it requires businesses to “have lawful rights to collect, use, and share

28 [Plaintiffs’ and Class members’] data before providing any data” to Defendant, but in reality knows

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 1 (or should have known) that the Facebook Pixel is being improperly used on tax preparation websites

 2 resulting in the wrongful, contemporaneous, redirection to Facebook of sensitive financial

 3 communications without the knowledge or authorization of Plaintiffs or Class members.

 4          207.   Facebook also failed to protect and misrepresented that it would protect the privacy
 5 and confidentiality of Plaintiffs and Class members’ sensitive financial information used in tax

 6 preparation, including by implementing and maintaining reasonable security measures that would

 7 have prevented Facebook Partner Financial Data Providers from sharing that information or using it

 8 with the Facebook Pixel.

 9          208.   Plaintiffs and Class members have suffered an injury in fact, including the loss of
10 money and/or property, as a result of Defendant’s unfair, unlawful and/or deceptive practices, to wit,

11 the disclosure of their personally identifiable data which has value as is demonstrated by the use and

12 sale of it by Defendant. While only an identifiable “trifle” of injury is needed to be shown, as set

13 forth above Plaintiffs, the Class members, and the public at large value their sensitive financial

14 information at more than a trifle. And sale of this confidential and valuable information to has now

15 diminished the value of such information to Plaintiffs and the Class.

16          209.   Defendant’s actions caused damage to and loss of Plaintiffs’, Class members’ and
17 other taxpayers’ property rights to control the dissemination and use of the personally identifiable

18 communications.

19          210.   Defendant’s    representations   and   omissions were material.          Defendant’s
20 misrepresentations and omissions regarding its requirement that businesses have lawful rights to

21 collect, use, and share Plaintiffs’ and Class Members’ data before providing any data to Defendant,

22 and Defendant’s receipt of the confidential information at issue, were intended to, were likely to,

23 and did deceive reasonable consumers such as Plaintiffs and the Class. The information Defendant

24 misrepresented and concealed would be, and is, material to reasonable consumers because Defendant

25 does not require businesses to have lawful rights to collect, use, and share Plaintiffs’ and Class

26 members’ data before providing any data to Defendant and Defendant receives the confidential

27 information at issue nonetheless.

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 1          211.    Defendant intended to mislead its customers, Plaintiffs, and Class members, and
 2 induce them to rely on its misrepresentations and omissions.

 3          212.    The above unfair and deceptive practices and acts by Defendant offend public policy.
 4 These acts caused substantial injury that these consumers could not reasonably avoid; this substantial

 5 injury outweighed any benefits to consumers or to competition.

 6          213.    Defendant acted intentionally and knowingly to violate Illinois’ Consumer Fraud Act,
 7 and recklessly disregarded Plaintiffs’ and Class members’ rights.

 8          214.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class
 9 members have suffered and will suffer injury, including, but not limited to, nominal damages;

10 general damages based on the fact that their sensitive and confidential information including

11 financial and personal information that Plaintiffs and Class members intended to remain private are

12 no longer private; that Facebook eroded the essential confidential nature of the filer-tax preparer

13 relationship; that Facebook took something of value from Plaintiffs and Class members and derived

14 benefits therefrom without Plaintiffs’ and Class members’ knowledge or informed consent and

15 without sharing the benefit of such value; and, the diminished value of Defendant’s goods and

16 services Plaintiffs and Class members received.

17          215.    Plaintiffs and Class members seek all monetary and non–monetary relief allowed by
18 law, including damages, restitution, nominal and punitive damages, injunctive relief, and reasonable

19 attorneys’ fees and costs.

20                                    TENTH CAUSE OF ACTION
21     VIOLATION OF THE ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
22                                      (815 ILCS §§ 510/2, et seq.)
23
            216.    Plaintiffs re-allege and incorporate all of the allegations contained in the preceding
24
     paragraphs.
25
            217.    This claim is brought under the laws of Illinois and on behalf of Plaintiffs Craig and
26
     Bryant and all other natural persons who were defrauded by Facebook and reside in states having
27
     similar laws regarding deceptive trade practices.
28

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 1          218.    Defendant is a “person” as defined by 815 Ill. Comp. Stat. §§ 510/1(5).
 2          219.    Defendant engaged in deceptive trade practices in the conduct of its business, in
 3 violation of 815 Ill. Comp. Stat. §§ 510/2(a), including the acts and practices alleged herein, namely,

 4 that Defendant claims that it requires businesses to “have lawful rights to collect, use, and share

 5 [Plaintiffs’ and Class members’] data before providing any data” to Defendant, but in reality knows

 6 (or should have known) that the Facebook Pixel is being improperly used on tax preparation websites

 7 resulting in the wrongful, contemporaneous, redirection to Facebook of sensitive financial

 8 communications without the knowledge or authorization of Plaintiffs or Class members.

 9          220.    This is a deceptive trade practice because it is a mechanism for: (a) Representing that
10 goods or services have characteristics that they do not have; (b) Representing that goods or services

11 are of a particular standard, quality, or grade if they are of another; (c) Advertising goods or services

12 with intent not to sell them as advertised; and (d) Engaging in other conduct that creates a likelihood

13 of confusion or misunderstanding.

14          221.    Defendant’s representations and omissions were material because they were likely to
15 deceive reasonable consumers about the adequacy of Defendant’s data security and ability to protect

16 the confidentiality of Plaintiffs’ and Class members’ PII.

17          222.    Defendant’s representations and omissions were material because they were likely to
18 deceive reasonable consumers, including Plaintiffs and Class members.

19          223.    The above unfair and deceptive practices and acts by Defendant offend and violate
20 public policy. These acts caused substantial injury to Plaintiffs and Class members that they could

21 not reasonably avoid; this substantial injury outweighed any benefits to consumers or to competition.

22          224.    As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class
23 members have suffered and will suffer injury, including, but not limited to, nominal damages;

24 general damages based on the fact that their sensitive and confidential information including

25 financial and personal information that Plaintiffs and Class members intended to remain private are

26 no longer private; that Facebook eroded the essential confidential nature of the filer-tax preparer

27 relationship; that Facebook took something of value from Plaintiffs and Class members and derived

28 benefits therefrom without Plaintiffs’ and Class members’ knowledge or informed consent and

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 1 without sharing the benefit of such value; and, the diminished value of Defendant’s goods and

 2 services Plaintiffs and Class members received.

 3           225.   Plaintiffs and Class members seek all monetary and non–monetary relief allowed by
 4 law, including damages, restitution, nominal and punitive damages, injunctive relief, and reasonable

 5 attorneys’ fees and costs.

 6                                  ELEVENTH CAUSE OF ACTION
 7                   VIOLATIONS OF NEW YORK GENERAL BUSINESS LAW
 8                                 (N.Y. Gen. Bus. Law § 349 (“GBL”))
 9           226.   Plaintiffs reallege and incorporate all previous allegations as though fully set forth
10 herein.

11           227.   This claim is brought under the laws of New York and on behalf of Plaintiff
12 Kurmangaliyev and all other natural persons who were defrauded by Facebook and reside in states

13 having similar laws regarding deceptive trade practices.

14           228.   Section 349 of the New York GBL provides that “[d]eceptive acts or practices in the
15 conduct of any business, trade or commerce or in the furnishing of any service in this state are hereby

16 declared unlawful.” N.Y. Gen. Bus. Law § 349(a).

17           229.   Defendant, while operating in New York, engaged in deceptive acts and practices in
18 the conduct of business, trade and commerce, and the furnishing of services, in violation of N.Y.

19 Gen. Bus. Law § 349(a). This includes but is not limited to the following: disclosing Plaintiffs’ and

20 Class members’ sensitive financial information; knowingly and fraudulently providing Plaintiffs’

21 and Class members’ sensitive financial information through use of the Facebook Pixel tool;

22 knowingly and fraudulently misrepresenting that Defendant would comply with the requirements of

23 relevant federal and state laws pertaining to the disclosure of tax information and tax records; and

24 claiming that it requires businesses to “have lawful rights to collect, use, and share [Plaintiffs’ and

25 Class members’] data before providing any data” to Defendant, while in reality it knew (or should

26 have known) that the Facebook Pixel is being improperly used on tax preparation websites resulting

27 in the wrongful, contemporaneous, redirection to Facebook of sensitive financial communications

28 without the knowledge or authorization of Plaintiffs or Class members.

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 1          230.    As a direct and proximate result of Defendant’s practices, Plaintiffs and other Class
 2 members suffered injury and/or damages, including but not limited to, nominal damages; general

 3 damages based on the fact that their sensitive and confidential information including financial and

 4 personal information that Plaintiffs and Class members intended to remain private are no longer

 5 private; that Facebook eroded the essential confidential nature of the filer-tax preparer relationship;

 6 that Facebook took something of value from Plaintiffs and Class members and derived benefits

 7 therefrom without Plaintiffs’ and Class members’ knowledge or informed consent and without

 8 sharing the benefit of such value; and, the diminished value of Defendant’s goods and services

 9 Plaintiffs and Class members received.

10          231.    The above unfair and deceptive practices and acts by Defendant were immoral,
11 unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiffs and other

12 Class members that they could not reasonably avoid, and which outweighed any benefits to

13 consumers or to competition.

14          232.    Plaintiffs and Class members seek relief under N.Y. Gen. Bus. Law § 349(h),
15 including but not limited to actual damages (to be proven at trial), treble damages, statutory damages,

16 injunctive relief, and/or attorney’s fees and costs.

17          233.    Plaintiffs and Class members seek to enjoin such unlawful deceptive acts and
18 practices described above. Each Class member will be irreparably harmed unless the Court enjoins

19 Defendant’s unlawful, deceptive actions, in that Defendant will continue to engage in the unlawful

20 conduct outlined above unless enjoined from doing so.

21          234.    Plaintiffs and Class members seek declaratory relief, restitution for monies
22 wrongfully obtained, disgorgement of ill-gotten revenues and/or profits, injunctive relief prohibiting

23 Defendant from continuing to disseminate its false and misleading statements, and other relief

24 allowable under N.Y. Gen. Bus. Law § 349.

25                                        PRAYER FOR RELIEF
26          WHEREFORE, Plaintiffs respectfully request that this Court:
27          a.      Certify the proposed Class, designating Plaintiffs as the named representatives of the
28 Class, and designating the undersigned as Class Counsel;

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 1          b.      Award compensatory damages, including statutory damages where available, to
 2 Plaintiffs and the Class against Defendant for all damages sustained by Defendant’s wrongdoing, in

 3 an amount to be proven at trial, including interest thereon;

 4          c.      Award punitive damages on the causes of action that allow for them and in an amount
 5 that will deter Defendant and others from like conduct;

 6          d.      Award attorneys’ fees and costs, as allowed by law including, but not limited to,
 7 California Code of Civil Procedure section 1021.5;

 8          e.      Award pre-judgment and post-judgment interest, as provided by law; and,
 9          f.      For such other, further, and different relief as the Court deems proper under the
10 circumstances.

11                                    REQUEST FOR A JURY TRIAL
12          Plaintiffs request a trial by jury of all issues so triable.
13                       NOTICE TO THE ILLINOIS ATTORNEY GENERAL
14          A copy of this Complaint will be mailed to the Illinois Attorney General.
15
     Dated: January 23, 2023                               LOCKRIDGE GRINDAL NAUEN P.L.L.P.
16

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 6                                   Attorneys for Plaintiff

 7                                   *motion for admission pro hac vice
                                     forthcoming
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                    CLASS ACTION COMPLAINT
